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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   DISABILITY RIGHTS WASHINGTON,                        No. 2:17-cv-00741

 9                                Plaintiff,

10                 vs.                                    COMPLAINT FOR INJUNCTIVE AND
                                                          DECLARATORY RELIEF
11   SOUND MENTAL HEALTH; and LAURIE
     PETTIT in her official capacity as Health
12   Information Technician Manager of SOUND
     MENTAL HEALTH,
13
                                  Defendant.
14

15          COMES NOW the plaintiff by and through its attorney, and as for its cause of action

16   against the Defendants, states and alleges as follows.

17                               I.      PRELIMINARY STATEMENT

18          1.      This action seeks injunctive and declaratory relief ordering Sound Mental Health

19   to provide Disability Rights Washington (DRW) access to the records requested pursuant to

20   DRW’s access authority as mandated by the Developmental Disabilities Assistance and Bill of

21   Rights (DD) Act of 1975, 42 U.S.C. § 15041, et seq., the Protection and Advocacy for

22   Individuals With Mental Illness (PAIMI) Act, 42 U.S.C. § 10801, et seq., and the Protection and

23   Advocacy for Individual Rights (PAIR) Act 29 U.S.C. § 794e, et seq., and the regulations


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1 promulgated pursuant to these statutes. In addition to being designated as Washington’s

 2   Protection and Advocacy System, DRW serves as class counsel in T.R. et al. v. Quigley et al.,

 3   No. 2:09-cv-01677-TSZ, a lawsuit brought on behalf of children and youth with significant

 4   mental health conditions. In order to conduct a full investigation of a complaint regarding a T.R.

 5   class member’s treatment, DRW requested access to records pursuant to its protection and

 6   advocacy statutes. Defendant Sound Mental Health has denied DRW access to these records.

 7                               II.     JURISDICTION AND VENUE

 8          2.      This action arises under the laws of the United States. Plaintiff DRW seeks

 9   declaratory and injunctive relief pursuant to the Developmental Disabilities Assistance and Bill

10   of Rights (DD) Act of 1975, 42 U.S.C. § 15041, et seq., the Protection and Advocacy for

11   Individuals With Mental Illness (PAIMI) Act, 42 U.S.C. § 10801, et seq., and the Protection and

12   Advocacy for Individual Rights (PAIR) Act 29 U.S.C. § 794e, to redress Defendant’s

13   interference with DRW’s ability to carry out the function of the protection and advocacy system

14   for Washington State by denying DRW access to records that it needs to conduct a full and

15   meaningful investigation.

16          3.      Jurisdiction in this matter is asserted pursuant to 28 U.S.C. §§ 1331, 2201 and

17   2202 for causes of action arising under the Constitution and federal statutory and common laws

18   of the United States.

19          4.      The rights which Plaintiff seeks to enforce are guaranteed by Congress through

20   the mandates set forth in the DD Act, 42 U.S.C. § 15041, et seq., the PAIMI Act, 42 U.S.C. §

21   10801, et seq., and the PAIR Act, 29 U.S.C. § 794e. These Acts establish a mandate for DRW to

22   protect and advocate for individuals with developmental, mental, and physical disabilities who

23   have been abused, neglected, or had their rights otherwise violated.


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1              5.   This Honorable Court also has authority pursuant to 28 U.S.C. §§ 2201 and 2202

 2   to enter declaratory judgments declaring the rights and other legal relations of parties to the

 3   action.

 4             6.   An award of monetary damages is inadequate as Plaintiff suffers and will

 5   continue to suffer irreparable harm from Defendants’ actions, inactions, policies, and procedures

 6   and the violations complained herein.

 7             7.   Venue is proper pursuant to 28 U.S.C. § 1391(b) as all parties reside in the State

 8   of Washington and Plaintiff’s claim for relief arises within this state. Defendants performed the

 9   acts and omissions complained of herein in the State of Washington in this district. This District

10   provides the most convenient forum for the litigation of these issues.

11                                            III.   PARTIES

12   Plaintiff

13   Disability Rights Washington

14             8.   Plaintiff DRW, a nonprofit corporation duly organized under the laws of the State

15   of Washington, is the statewide protection and advocacy system designated by the Governor of

16   the State of Washington to protect and advocate for the legal and civil rights of those citizens of

17   this state who have disabilities, pursuant to the DD Act, 42 U.S.C. § 15041, et seq., the PAIMI

18   Act, 42 U.S.C. § 10801, et seq., and the PAIR Act, 29 U.S.C. § 794e. RCW 71A.10.080(2).

19   DRW maintains offices in Seattle and Spokane at 315 5th Avenue South, Suite 850, Seattle, WA

20   98104, and 10 N. Post Street, Spokane, WA 99201.

21             9.   As the duly designated statewide protection and advocacy system for individuals

22   with disabilities in the state of Washington, DRW has the authority and responsibility to pursue

23   legal, administrative, and such other appropriate remedies or relief as may be necessary to


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1 protect and advocate for the rights of those persons within the State of Washington who are

 2   receiving or who may be eligible for treatment, services, or habilitation due to their physical

 3   and/or mental disabilities pursuant to the DD Act, 42 U.S.C. § 15043, the PAIMI Act, 42 U.S.C.

 4   § 10805, and the PAIR Act, 29 U.S.C. § 794e(f).

 5          10.     In its capacity as the designated protection and advocacy system for the State of

 6   Washington, DRW is entitled to access records of all individuals with mental illness if

 7   “authorized” by that individual or that individual’s legal representative. 42 C.F.R. § 51.41(b); 42

 8   U.S.C. §10805(a)(4).

 9          11.      DRW also serves as class counsel in T.R. v. Quigley and is responsible for

10   representing a class of children and youth with significant mental health conditions who are

11   Medicaid-eligible and need intensive home and community-based mental health services.

12          12.     DRW has and will continue to suffer irreparable harm as a result of Defendants’

13   actions or inactions absent preliminary and permanent relief.

14   Defendants

15   Sound Mental Health

16          13.     Sound Mental Health is a licensed provider of mental health, behavioral health,

17   and substance abuse services with several offices throughout King County. Sound Mental Health

18   offers services to both adults and children. It is a contracted service provider for King County

19   Mental Health and Substance Abuse Services, which provides mental health and substance abuse

20   services for children and adults in King County with Medicaid health insurance who meet certain

21   medical necessity criteria. Sound Mental Health’s administrative offices are located at 1600 E

22   Olive Street, Seattle, WA 98122; the service center that holds the records to which DRW is

23   entitled is located at 14270 NE 21st Street, Bellevue, WA 98007.


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1 Laurie Pettit

 2          14.     Laurie Pettit is the Health Information Technician Manager at Sound Mental

 3   Health. In this capacity, she has custody of the records for Sound Mental Health clients and

 4   exercises control over who may access the records and under what circumstances. She has

 5   denied DRW’s request to access records of a Sound Mental Health client.

 6                                 IV.     FACTUAL ALLEGATIONS

 7          15.     At all times relevant herein, DRW has been, and is, designated by the Governor of

 8   the State of Washington as the protection and advocacy system for those citizens of this state

 9   who have mental, developmental, and physical disabilities.

10          16.     DRW, like all of the protection and advocacy agencies currently operating in the

11   other forty-nine states, the federal protectorates (American Samoa, Guam, the Commonwealths

12   of the North Mariana Islands and Puerto Rico, and the United States Virgin Islands), the District

13   of Columbia, and the Native American nations in the four-corners region of the southwest, was

14   originally created pursuant to the mandates of the DD Act, 42 U.S.C. § 15041, et seq., the PAIMI

15   Act, 42 U.S.C. § 10801, et seq., and the PAIR Act, 29 U.S.C. § 794e, et seq.

16          17.     As a result of the extensive congressional hearings preceding the passage of each

17   of the protection and advocacy statutes, Congress found that there had been an extensive history

18   of unlawful discriminatory segregation, extraordinary maltreatment, financial exploitation,

19   neglect, and physical abuse of those individuals who resided in institutional facilities and

20   residential programs throughout the United States.

21          18.     The DD, PAIMI, and PAIR Acts require that each state, in exchange for receipt of

22   certain federal financial assistance, effect a system to protect and advocate for the rights of

23   persons with disabilities and further specify that these systems must have the authority to


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1 investigate and pursue legal and other appropriate remedies for those persons. See 29 U.S.C. §

 2   794e(f); 42 U.S.C. §§ 10805, 15043.

 3           19.     The Washington State legislature provided for such a system with the enactment

 4   of RCW 71A.10.080. Specifically, under the provisions of RCW 71A.10.080(1), the designated

 5   protection and advocacy agency “shall have the authority to pursue legal, administrative, and

 6   other appropriate remedies to protect the rights of the developmentally disabled and to

 7   investigate allegations of abuse and neglect.” Similar authority is granted to the designated

 8   protection and advocacy system to “pursue legal, administrative, and other appropriate remedies

 9   to protect the rights of mentally ill persons and to investigate allegations of abuse or neglect”

10   under RCW 71A.10.080(2).

11           20.     DRW, in accordance with its congressional mandates, duties, and responsibilities

12   as the designated protection and advocacy agency for the State of Washington under federal and

13   state law, employs attorneys and advocates to perform and provide protection and advocacy

14   services to people in the State of Washington who have mental, developmental, and physical

15   disabilities.

16           21.     DRW’s mandate to provide investigative and advocacy services to individuals

17   with disabilities extends to individuals served by both private and publicly-funded facilities.

18           22.     As the designated protection and advocacy agency for the State of Washington,

19   DRW has been representing the plaintiff class in T.R. v. Quigley, a lawsuit brought to improve

20   home and community-based mental health services for children in Washington who have

21   medical insurance through Medicaid. This litigation settled in 2013 with a settlement agreement

22   to be implemented by about June 30, 2018. The settlement agreement created a service model by

23   which children who have health insurance through Medicaid could receive intensive mental and


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1 behavioral health services in their homes and in other community-based settings, called Wrap

 2   Around with Intensive Services (WISe).

 3           23.      Under the settlement agreement, DRW serves on the on the Implementation

 4   Advisory Team, which is a group comprised of the Plaintiff Counsel, Attorney General

 5   representatives, and representatives of State’s child-serving systems with knowledge relevant to

 6   the services and processes the State utilizes to comply with this Agreement. The Implementation

 7   Advisory Team is utilized as a communication mechanism between parties to enable

 8   implementation.

 9           24.      On November 7, 2016, DRW received a phone call by a person (Caller) who

10   knew of a child (Child1) receiving WISe services through Defendant Sound Mental Health.

11   Caller expressed concerns about the efficacy and sufficiency of services the child was receiving

12   through WISe and alleged the child was at risk of harm.

13           25.      To investigate, DRW obtained an agreement and signed releases from Child’s

14   custodial parent to access Child’s records. DRW requested Child’s records from Defendant

15   Sound Mental Health on December 2, 2016.

16           26.      In the December 2 record request, DRW explained that DRW must be able to

17   access records within three business days of making a written request pursuant to 42 U.S.C. §

18   15043 (a)(2)(J)(i). DRW noted that it was not waiving its right to access records in three days,

19   but offered to receive the responsive records outside of the three-day window without waiving its

20   federal access authority.

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       DRW’s federal mandates require DRW to keep confidential information pertaining to its clients and the identity of
     those who report allegations. 42 C.F.R. § 51.45(a)(1).

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1           27.     Defendant Sound Mental Health responded to DRW’s request for Child’s records

 2   with an invoice, dated December 20, 2016, for producing copies of the requested records. The

 3   invoice included a $25 clerical fee, and copy fees of $1.12 per page for the first 30 pages, and

 4   $0.84 per page for additional pages.

 5          28.     On December 23, 2016, DRW sent a letter to Defendant Sound Mental Health

 6   stating that the copy fees in the December 20 invoice were unreasonable. DRW explained that its

 7   federal mandates require that records be made available to DRW at a reasonable cost: “[a] P&A

 8   system shall be permitted to inspect and copy records, subject to a reasonable charge to offset

 9   duplicating costs.” 42 C.F.R. § 51.41(e). DRW further explained that state law is instructive as to

10   what constitutes a reasonable charge for copies and by way of example, cited the Washington

11   Public Disclosure Act’s limit of fifteen cents per page, absent identification of the actual cost per

12   page to make copies. RCW 42.56.120. DRW offered to pay $0.15 per page for the records or to

13   access the records electronically or in-person to avoid incurring copying costs.

14          29.     On January 25, 2017, DRW sent a third letter and repeated the alternative options

15   for accessing the records electronically, or in-person at Sound Mental Health’s office.

16          30.     Defendant Sound Mental Health responded to DRW’s letter, refusing to change

17   the copy fees, and denying DRW in-person access to Child’s records. Sound Mental Health

18   stated that Child’s parent could access some of the records for free, and then send the records to

19   DRW.

20          31.     DRW notified Sound Mental Health on February 21, 2017 that the arrangement

21   by which Child’s parent would obtain the records was not feasible and requested consultation to

22   reach a resolution. Defendant Sound Mental Health did not respond.

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1            32.    On May 4, 2017 DRW once again contacted Defendant Sound Mental Health by

 2   letter and notified it that DRW’s federal authority to access Child’s records had not been

 3   satisfied, and that DRW has not waived its federal access authority. DRW also requested access

 4   to additional records generated since its initial request. DRW gave notice that DRW would plan

 5   to access and scan records in person at Sound Mental Health’s office on May 8, 2017, or would

 6   pay a reasonable fee of $0.15 per page to have copies sent to DRW’s office.

 7           33.    Defendant Sound Mental Health did not respond to DRW’s May 8, 2017 letter or

 8   send DRW a new invoice for copies. On May 8, 2017, DRW went to Sound Mental Health’s

 9   office at 14270 NE 21st Street, Bellevue WA 98007 and requested in person access to the Child’s

10   records. The records custodian stated that he had been instructed by his supervisor, Defendant

11   Laurie Pettit, to deny DRW in-person access to Child’s records.

12           34.    On May 8, 2017 DRW called Defendant Pettit to request access to the Child’s

13   records. Defendant Pettit again refused. The following day, DRW emailed Defendant Pettit

14   requesting that she reconsider.

15           35.    As of May 10, 2017 DRW has not received access to the records it requested on

16   December 2, 2016 and May 4, 2017.

17           36.    As a result of Defendants’ refusal to follow federal law, DRW has been frustrated

18   in its mandates to fully investigate complaints of neglect and to exercise due diligence in

19   discharging its duties as T.R. v. Quigley class counsel appointed to the Implementation Advisory

20   Team.

21           37.    DRW has made Defendants aware of DRW’s federally-mandated authority to

22   access service provider records of people with disabilities.

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1           38.     Defendants’ acts frustrate the congressionally-mandated functions and duties of

 2   the protection and advocacy system. As described in the foregoing paragraphs, Plaintiff

 3   attempted, on numerous occasions, to resolve its access issue with the Defendants. These

 4   attempts have proven unsuccessful.

 5          39.     Plaintiff has suffered and continues to suffer direct and irreparable injury to its

 6   statutory interests in investigating abuse and neglect of individuals with developmental

 7   disabilities, traumatic brain injury, mental illness, and other disabilities, and in reviewing the

 8   implementation of WISe pursuant to the T.R. v. Quigley settlement agreement.

 9          40.     Plaintiff has standing to bring this action on its own behalf, because the refusal of

10   access by Defendants constitutes an injury in fact to plaintiff’s legally-protected interests. This

11   injury is concrete, particularized, actual, and imminent. There is a causal relationship between

12   the injury and Defendants’ challenged conduct, and a favorable decision by this Court will

13   address the injury.

14          41.     Plaintiff has no adequate remedy at law.

15                                             V.      CLAIMS

16          42.     Violation of DRW’s rights under 42 U.S.C. § 15041, et seq., 42 U.S.C. § 10801,

17   et seq., and 29 U.S.C. § 794e.

18                                    VI.     PRAYER FOR RELIEF

19          44.     Wherefore, plaintiff Disability Rights Washington respectfully prays to the

20   Honorable Court for the following relief:

21                  A.      For an Order assuming Jurisdiction over this case;

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1                B.      For an Order declaring that Defendants’ actions and inactions, as

 2        described herein, violate Plaintiff’s rights under 42 U.S.C. § 15041, et seq., 42 U.S.C. §

 3        10801, et seq., 29 U.S.C. § 794e, and the regulations promulgated thereto;

 4               C.      For an Order directing Defendants to immediately provide Plaintiff DRW

 5        with all records requested and otherwise provide full, meaningful, and effective access to

 6        any other records, residents, staff, or facilities DRW deems necessary to conduct a full

 7        investigation without further delay;

 8               D.      For an Order granting Plaintiff such other and further relief as this Court

 9        deems just and proper.

10

11        Dated this 11th day of May, 2017.

12                                               Respectfully Submitted,

13                                               DISABILITY RIGHTS WASHINGTON

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                                        By:      /s/David R. Carlson
15                                               David R. Carlson, WSBA # 35767
                                                 Attorney for Plaintiff
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